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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

  JERYL TURCO,                           Case No. 2:15-cv-03008

                   Plaintiff,            Judge Susan D. Wigenton
                                         Magistrate Judge Leda D. Wettre
  v.

  CITY OF ENGLEWOOD,
  NEW JERSEY,

                Defendant.
  ________________________________/


    PLAINTIFF JERYL TURCO’S PROPOSED FINDINGS OF FACT AND
                     CONCLUSIONS OF LAW
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                                  INTRODUCTION

       In late 2013, the City of Englewood was faced with a problem. A new and

 readily identifiable group of anti-abortion protestors had begun appearing on the

 public sidewalks and streets outside of a local abortion clinic. This new group

 threatened the peaceful coexistence between clinic supporters and opponents that

 had prevailed at the site at least since the issuance of an injunction by this Court in

 the late 1990s following a series of sit-ins and blockades of the clinic. The tactics of

 the   new    group—described       variously   as    “harassing,”   “confrontational,”

 “threatening,” and “potentially violent”—contrasted markedly with the approach of

 long-time sidewalk counselors like Plaintiff, Jeryl Turco, who, by all accounts,

 sought merely to speak with clinic patients in a calm, quiet, personal manner and

 give them pamphlets about alternatives to abortion.

       Both clinic supporters and opponents, including Plaintiff, agreed that the new

 group posed a problem that needed to be addressed. But instead of addressing the

 problem by enforcing existing laws, enacting new laws modeled on the federal

 Freedom of Access to Clinic Entrances Act (“FACE”), or, best of all, pursuing

 injunctive relief targeting the specific individuals and groups that were causing the

 problem—an approach that the City knew from recent experience actually worked—

 Englewood chose an “easier” solution. It enacted a “buffer zone law” that carved up

 the traditional public forum at 40 Engle Street into a series of six “no-speech”



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 rectangles and arcs that force people like Jeryl Turco to navigate an obstacle course

 to engage in what the Supreme Court has held are “classic forms of speech that lie

 at the heart of the First Amendment.” McCullen v. Coakley, 573 U.S. 464, 489

 (2014).

       The two-day trial of this case showed that, if anything, Plaintiff’s case is

 stronger now than it was the first time this Court addressed it in 2017. That

 Englewood’s defense was and is taken from the same discredited playbook that

 Massachusetts used in McCullen was made clearer than ever. The trial demonstrated

 that Englewood had a problem; that the cause of the problem was readily

 identifiable. It was not Jeryl Turco. The more the City’s witnesses poured on the

 testimony about the obstructive and violent tactics of the Bread of Life group—a

 group that one witness claimed had ties to “domestic terrorists”—the more

 misguided appeared Englewood’s feeble attempts to deal with that problem.

 Governments don’t deal with domestic terrorism through parking tickets or painted

 lines on sidewalks. Instead, they use monitoring, surveillance, and prosecutions of

 bad actors, and when dealing with ongoing, recurring activity, targeted injunctions.

 Englewood forsook all these readily available tools and chose instead to enact a law

 virtually identical to one struck down by a unanimous Supreme Court just a few

 months later.

       Jeryl Turco’s testimony that her ability to sidewalk counsel in front of 40



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 Engle Street is reduced by 50% due to the buffer zone/obstacle course was unrefuted.

 Englewood’s attempts to downplay or minimize the burden come up against the clear

 teaching of the Supreme Court that “there is no ‘de minimis’ exception for a speech

 restriction that lacks narrow tailoring.” Lorillard Tobacco Co. v. Reilly, 533 U.S.

 525, 567 (2001). While the activities of the Bread of Life group—the actual source

 of the problem—continue relatively unabated, the burden on Turco’s speech is

 undeniably real and substantial.

                        PROPOSED FINDINGS OF FACT

 1.    The Ordinance, which creates buffer zones at all Englewood health care and

 transitional facilities, was adopted in response to the activities of certain readily

 identifiable individuals associated with the Bread of Life group who had begun

 protesting in late 2013 in the vicinity of the Metropolitan Medical Associates

 (MMA), a clinic where abortions are performed, located at 40 Engle Street. [J-4, at

 ##1-5.]

 2.    Regarding the MMA location, the Ordinance excludes Plaintiff and others

 similarly situated from approximately twenty-four feet on either end of the clinic, or

 forty-eight feet in total of the public sidewalk outside the clinic by virtue of two

 different sets of three overlapping arcs and rectangles painted on the public sidewalk.

 Hence, the MMA location has six separate (while overlapping) “eight-foot buffer

 zones,” not one. [Turco v. City of Englewood, 935 F.3d 155, 159 (3d Cir. 2019);



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 Turco v. City of Englewood, No. 2:15-cv-03008, 2017 U.S. Dist. LEXIS 189042, at

 *3–4 (D.N.J. Nov. 14, 2017); Ex. J-1.]

 3.    Despite the absence of evidence of problems at any location other than 40

 Engle Street [Dacey, T1 at 186:18–21], the Ordinance also sets up buffer zones at

 every other health care and transitional facility in Englewood. Shortly after its

 adoption, the city began marking out buffer zones at these facilities, including six

 referred to in an email from the police chief to city administrator, Timothy Dacey.

 [J-4 at p. 3, #8; Dacey, T1 at 186:13 to 187:1.]

 A.    Jeryl Turco’s Sidewalk Counseling

 4.    Plaintiff, Jeryl Turco, is an individual who has engaged in sidewalk

 counseling since 2007 outside MMA. [Turco, T1 at 9:17 to 10:2.]

 5.    Turco is a retired nursing home administrator who, since retiring in 2014,

 devotes most of her time to her work with the Dolores Turco Foundation, a charitable

 foundation whose mission is to serve abused and neglected children. The Foundation

 also assists homeless and mentally ill women in India, medical missions in Nigeria,

 and an anti-poverty initiative in Newark. [Turco, T1 at 8:16 to 9:16.]

 6.    Motivated by her religious belief that “all human beings are created in the

 image and likeness of God and worthy of great reverence,” Turco sidewalk counsels

 outside MMA to “defend the defenseless” and “mostly offer the women support and

 help.” [Turco, T1 at 10:14–21.]



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 7.    Although Turco counseled outside MMA virtually every Saturday morning

 beginning in 2007, since the onset of the Covid pandemic and her own subsequent

 move to Monmouth County, she intends to come to the MMA site around once a

 month. [J-4 at ##17–18.]

 8.    When sidewalk counseling, Turco’s practice is to calmly approach women

 entering the clinic and attempt to engage in peaceful, nonconfrontational

 communications. [J-4 at #15.]

 9.    MMA clinic escort group co-founder, Ashley Gray, described Turco as “a

 quiet, respectful person in contrast to . . . the Bread of Life” people. [Gray, T2 at

 255:6–9.]

 10.   Gray described her relationship with Turco as “cordial, friendly for the most

 part.” [Gray, T2 at 232:15–17.] Gray further testified she “has referred patients to

 Jeryl,” including an incident in which a patient was unsure about whether she wanted

 to have an abortion. Gray says she “essentially delivered the patient to Jeryl Turco.”

 [Gray, T2 at 233:16 to 234:1.]

 11.   While clinic escort Christina Taylor’s characterization of Turco was less

 positive than Gray’s, Taylor’s bias was evident, especially in her published writings

 in which she wrote that she would “rather have the screamers” than Jeryl Turco (“the

 screamers” being a reference to the people she describes “as saying horrible things

 to black people and to gay people, to Jewish people”). [Taylor, T2 at 305:4-7.]



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  Moreover, Taylor was forced to acknowledge that, when deposed in April 2021, she

  testified that Turco “uses a very soft voice and very nonimposing demeanor to

  engage with patients,” [Taylor, T2 at 303:14 to 304:19], and that her issue with Turco

  is neither her conduct nor her manner of speaking, but rather “the content of her

  words.” [Taylor, T2 at 304:21 to 305:3.]

  B.    Impact of Buffer Zones on Turco’s Ability to Sidewalk Counsel

  12.   Prior to the enactment of the Ordinance, Turco was free to approach women

  on the public sidewalk in front of MMA and accompany them all the way to the

  clinic door without being hindered by the three no-speech buffer zones in front of

  the clinic entrance—the “doorway area”—or the three similar zones at the other end

  of the building—the “driveway area.” [Turco, T1 at 13:22 to 15:23.]

  13.   If, for example, Turco was standing to the left of the clinic doorway area and

  saw a potential client approaching from beyond the driveway, she was free to walk

  down the sidewalk in a straight line, try to engage in conversation, and quietly

  converse with and hand literature to the client all the way to the clinic door. [Id.]

  14.   Once Turco read and understood the terms of the Ordinance, she was forced

  to change her approach since, by its terms, she could not “enter or remain” within

  any of the areas demarcated by the buffer zone lines without risking a fine of up to

  $1,000, up to 90 days in jail, or both, plus a minimum mandatory fine of $1,000.




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  [Turco, T1 at 21:12 to 23:2.]1

  15.   Turco’s understanding of the restrictions imposed by the Ordinance is

  consistent with the plain language of its text as well as the understanding of Lynn

  Algrant, Englewood’s City Council President, at the time the Ordinance was

  adopted. [Algrant, T1 at 158:12–19; 129:22 to 133:15.]

  16.   Because Turco is not permitted to enter or remain within the buffer zones, she

  must navigate what she describes as an “obstacle course” to be able to reach and

  communicate with many patients of MMA. [Turco, T1 at 26:14 to 27:15.]

  17.   For example, now if Turco is standing to the left of the doorway area and sees

  a patient approaching from beyond the driveway, Turco must first walk around the

  radius arc to the left, then sidestep to the street to avoid the rectangular zone, then

  hurry to the next rectangular zone by the driveway, sidestep that zone by going into

  the street, before she can try to engage the patient. While conversing, or trying to

  converse with that patient, Turco—on the way back toward the clinic door—must

  now sidestep to avoid the driveway radius arcs and rectangular area, try to then

  reconnect with the patient (who likely has continued walking in a straight line), and

  if successful, must then stop abruptly at either the radius arc to the right of the door,

  or the doorway rectangular zone. [Turco, T1 at 24:25 to 25:14; Ex. J-1.]


  1
    Englewood City Code § 307-4 specifies the penalties for a violation of the
  Ordinance. Available at https://ecode360.com/13859122?highlight=&searchId=
  7349748274429223#13859122.

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  18.   As to literature distribution, for example, should Turco be positioned at the

  edge of the left doorway area buffer zone’s radius arc, it is physically impossible for

  her to reach across the approximately 24 feet of space between her and a patient

  approaching the edge of the right radius arc to hand her a pamphlet. [Turco, T1 at

  33:12–16.]

  19.   Turco testified that the obstacle course created by the Ordinance has resulted

  in “obstruction” and “difficulty” in her ability to sidewalk counsel and distribute

  pamphlets “at least 50 percent of the time.” [Turco, T1 at 28:7–11.]

  20.   The difficulty involved with navigating the buffer zones, and being forced to

  go out into the street, is compounded by the presence of cars, delivery trucks, and,

  depending on the weather, snow. [Turco, T1 at 63:22 to 64:4.]

  21.   Regarding media reports written immediately after the buffer zones went into

  place at MMA, Turco nowhere expresses support for the Ordinance. [Turco, T1 at

  20:9–17; 55:3–10.]

  22.   Turco testified that she did not fully understand the parameters of the

  Ordinance until sometime after she had read it and consulted with counsel. [Turco,

  T1 at 20:18 to 21:18.]

  23.   After this Court invalidated the Ordinance in 2017, Turco’s ability to sidewalk

  counsel in the way she had done before the buffer zones appeared was restored:

        I was able to walk down the sidewalk, I did not have an obstacle course,
        I can go right to the door and talk to the girls as they were going in. And

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        I can go either way – instead of – it takes me less time to go straight
        down the sidewalk if I am on one side of the door and someone is
        coming from the other.

        With the buffer zone, I’d have to go into the street and back and then
        into the street. So now [referring to the time during which the Ordinance
        was invalidated] I can go straight down the sidewalk which is less time,
        because time is critical. We have very little time to communicate. And
        I have more time to be able to – those extra precious 10 or 15 or 20
        seconds to be able to talk with the girls. [Turco, T1 at 28:12 to 29:5.]

  24.   Once the Ordinance was reinstated by the Third Circuit in 2019, however, the

  obstacle course that previously made Turco’s speech efforts more difficult by “at

  least 50 percent,” was back. [Turco, T1 at 28:7–11; T1 at 29:6–13.]

  25.   In fact, upon reinstatement of the buffer zones, the obstacle course was “even

  worse” than before because of the proliferation on the sidewalk in front of 40 Engle

  St. of various objects such as planters, a decorative rock structure, tables, chairs, and

  a valet station. [Turco, T1 at 29:14 to 33:17; 35:23 to 38:15.]

  26.   These objects, which Turco testified were present as recently as February 12,

  2022, add to the difficulty of trying to communicate with patients, both verbally and

  by offering literature. She estimates that these objects—the property of the restaurant

  next to MMA, but present with City approval—take up “probably half the sidewalk

  you could use.” [Turco, T1 at 39:17–24.]

  27.   Even one of Englewood’s witnesses, Andrea Long, admitted testifying under

  oath in April 2021 that the restaurant’s objects occupied “maybe half” of the

  available sidewalk in front of MMA. [Long, T2 at 342:1–8.]

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  28.    Rosemary Garrett’s testimony regarding the effect of the Ordinance on her

  sidewalk counseling is of little value since, as Ms. Garrett testified, she typically

  stationed herself a considerable distance away from the MMA clinic, “down on the

  corner, far away from the building, abortion clinic.” [J-2, Garrett, at 31:19 to 32:2.]

  C.     The Arrival of the “Problem Group” in Late 2013

  29.    The MMA clinic had been the focus of anti-abortion protests since it first

  opened. In 1974, an injunction was issued by the Superior Court of New Jersey

  restricting the location of protests. U.S. v. Gregg, 32 F. Supp. 2d 151, 153 (D.N.J.

  1998), aff’d 226 F. 3d (3d Cir. 2000), cert. den. 532 U.S. 1071 (2001).

  30.    Thereafter, Englewood enacted a 1990 Ordinance, entitled “Obstruction of

  Health Care Facilities and Transitional Facilities,” which prohibited blocking doors

  or driveways of health care or transitional facilities, as well as making it unlawful to

  “interfere with, obstruct, impede, block or prevent” any person seeking access to

  such facilities. [J-4 at # 41.]

  31.    Following a series of blockades of the clinic’s entrance in 1996–97, the court

  in Gregg, pursuant to 18 U.S.C. § 248 of the Freedom of Access to Clinic Entrances

  Act (“FACE”), issued a permanent injunction against 30 individuals and all those

  “acting in concert” with them, prohibiting them from physically “blocking,

  impeding, inhibiting, interfering with, or obstructing access to” MMA, and from

  “intimidating or attempting to intimidate anyone seeking access” to MMA. Gregg,



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  32 F. Supp. 2d. at 161–162.

  32.   The U.S. v. Gregg injunction has never been modified or vacated. [See docket,

  U.S. v. Gregg, 2:97-cv-02020-JCL (D.N.J.).]

  33.   The activities of the Bread of Life group were first brought to the attention of

  the city council at its meeting on October 8, 2013. Dr. Bruce Tisch, a physician at

  MMA, identified himself and read a prepared statement to the Council regarding

  “escalating incidents” at 40 Engle Street. The letter was signed by Tisch and other

  physicians on behalf of “a large group consisting of business owners, employees and

  permanent residents of the city of Englewood.” [J-4 at p. 1, # 6; Ex. Pl. N.]

  34.   The October 8, 2013, letter also informed the city that the new group was

  using sound amplification devices, verbal abuse, and threatening actions to impede

  access to the clinic. The group was also intimidating and harassing “uninvolved

  citizens . . . on their way to their local synagogue” and was causing fear among

  children at the public library, across the street from MMA. [Ex. Pl. N.]

  35.   According to Defendant’s Chief of Police, Arthur O’Keefe, these activities

  included such things as “physically confronting, screaming at, and intimidating

  young, vulnerable females . . .” According to O’Keefe, there were confrontations

  with others as well, including employees from neighboring businesses, and he feared

  “more people would start to get hurt.” [J-3, O’Keefe at 21:12 to 22:2.]

  36.   These activities were markedly different from what O’Keefe says had been



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  typical of pro-life actions at the clinic—praying, quiet communication and literature

  distribution—following what he described as “the demonstration in 1989, following

  the injunction put in place . . .” [J-3, O’Keefe, at 10:20 to 11:6.]

  37.   Responding to news reports about the Bread of Life group’s aggressive

  tactics, Ashley Gray, co-founded a volunteer clinic escort team to help women

  access the MMA clinic. [Gray, T2 at 224:15 to 225:20.]

  38.   Beginning in December of 2013, Gray, either as head of the “MMA escort

  team” or on her own behalf, sent weekly “escort reports” to, among others, Council

  President, Lynn Algrant, about the activities of the Bread of Life group, which Gray

  dubbed “our problem group.” [Gray, T2 at 235:15–20; Pl. Ex. CC.]

  39.   These reports contained detailed descriptions of, among other things, the

  following conduct: “Blocking access to the clinic door”; “Blocking patients and

  escorts on the sidewalk”; “Shouting into the clinic when the door is opened”; and

  “Creating tripping hazards” [Pl. Ex. X], as well as, “Repeated physical assault of

  escorts”; “Screaming directly into [patients’] faces”; and “Videotaping [patients],”

  making them “hysterical.” [Pl. Ex. BB.]

  40.   In addition to written reports, Gray was also sending to Algrant photo and

  video evidence of the “physical intimidation and interference,” “tremendous chaos,”

  and “repeated physical assaults” being committed by the “problem group.” [Algrant,

  T1 at 138:20 to 140:8.]



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  41.   Algrant herself had witnessed and been the target of some of the Bread of Life

  group’s harassing behavior on at least one occasion, much of it taking place at a

  distance of at least 100 feet from the clinic entrance. [Algrant, T1 at 141:4–10.]

  42.   The MMA clinic itself maintained security cameras that monitored and

  recorded at least some of the activity taking place on the sidewalk in front of 40

  Engle Street. [Gray, T2 at 256:17–22.] The city manager, Tim Dacey, was aware of

  this as well as the existence of the escorts’ video evidence of “offensive, outrageous

  and, in some cases, unlawful” activity of the Bread of Life group. [Dacey, T1 at

  187:9–18.]

  43.   The Bread of Life group itself was recording its activities and posting videos

  of those activities on YouTube. [Algrant, T1 at 96:24 to 97:11; Gray, T2 at 258:19

  to 259:3.]

  44.   Not all the offensive and illegal behavior was taking place in the area that was

  later covered by the buffer zones. Some of it was even occurring across the street

  from 40 Engle Street. [Algrant, T1 at 140:1 to 141:10; Gray, T2 at 264:14–21.]

  45.   Using basic internet research tools (Google), Ashley Gray was able to learn

  the names of six of the members of the Bread of Life group, as well as the location

  of their church, which she forwarded to Algrant. [Gray, T2 at 266:8–14.]

  46.   Gray also monitored the group’s YouTube account and Facebook pages

  “where they blatantly advertise their aggressive tactics.” She informed Algrant of



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  this in December 2013, offered to share with her photos and videos of the group’s

  activities. [Gray, T2 at 266:24 to 267:13; Pl. Ex. DD.]

  47.   Algrant acknowledged that she did in fact receive from Gray photos and

  videos of the conduct Gray and the escorts were complaining about. [Algrant, T1 at

  139:5–20.]

  48.   Gray also was able to learn and share with city officials information showing

  that the Bread of Life group was “associated with lots of other dangerous

  antiabortion actors around the country,” specifically “really notoriously known

  domestic terrorist groups like Operation Rescue.” [Gray, T2 at 243:14–25.]

  D.    Englewood’s Response to the “Problem Group”

  49.   In response to these well-documented instances (including photo/video

  evidence) of “repeated physical assaults,” “physical intimidation and interference,”

  “screaming,” “obstruction and blocking” occurring both in front of 40 Engle Street

  and even across the street, the City undertook no prosecutions or citations of anyone

  under existing ordinances, statutes, regulations, or any other legal enactments. [J-4

  at # 60; Algrant, T1 at 149:1–15.]

  50.   The City undertook no civil actions for injunctive or other relief against the

  Bread of Life group and/or its individual members despite being aware of their

  names, the identity of their organization, their association with “notoriously known

  domestic terrorist groups like Operation Rescue,” and despite having video and



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  photographic evidence of their actions. [Algrant, T1 at 149:1–15; Pl. Ex. 3, Def.

  Answers to Interrogatories (“DATI”) at pp. 18–9.]

  51.   The City presented no evidence that it considered or researched whether any

  Bread of Life members might be covered as “individuals acting in concert with”

  those named in the injunction issued by Judge Lifland in 1998 in U.S. v. Gregg.

  52.   The City presented no evidence that it seriously considered seeking injunctive

  relief on its own under FACE or any other federal or state cause of action. The City’s

  Answers to Interrogatories, answered in 2016, contain no reference to even the

  possibility of seeking injunctive relief. [Ex. Pl. 3, ATI at pp. 14–16.]

  53.   While former city manager Dacey did refer at trial to talking to MMA

  personnel about MMA seeking its own private injunction, no such discussion is

  suggested in the interrogatories answered six years ago. [Dacey, T1 at 175:1–4.] Nor

  did Dacey nor any other defense witness express any awareness, let alone

  consideration given, to either enforcing the existing, public, Gregg injunction, or

  having the City seek its own new injunction. [Dacey, T1 at 188:5–9.]

  54.   The City presented no evidence that it considered contacting the U.S.

  Attorney’s Office for the District of New Jersey, even though it was aware that the

  same U.S. Attorney’s Office had successfully litigated and obtained injunctive relief

  under FACE some fifteen years previously against aggressive anti-abortion

  protestors at the MMA clinic, and despite Chief O’Keefe’s testimony that said



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  injunction had resolved the problems associated with such protestors until the advent

  of the Bread of Life group. [Pl. Ex. 3, DATI, at pp. 14–16; J-3, O’Keefe, 10:20 to

  11:22.]

  55.   The City presented no evidence that it ever considered enacting its own local

  version of the federal FACE statute. [Pl. Ex. 3, DATI, at pp. 14–16.]

  56.   On the contrary, and inexplicably, the city repealed—as part of the enactment

  of the Ordinance —the part of a previous ordinance that was, in many respects, the

  equivalent of a local FACE ordinance. [Pl. Ex. B; Algrant T1 at 146:16 to 147:2.]

  E.    Testimony Regarding Cost Irrelevant Due to City Policy

  57.   In 2016, when answering interrogatories that asked the City to “describe every

  measure or action of any kind that you considered or undertook prior to enacting the

  Ordinance, Dacey, on behalf of the City, listed the following: 1) more frequent police

  patrols; 2) enforcing parking regulations at the library across the street; 3) police

  making it clear to protestors that they couldn’t block the door; 4) police driving by

  the site more frequently and stopping to get out and talk to people; 5) police trying

  to take information from people who complained; 5) stopping the Bread of Life

  Group with noise violations. [Pl. Ex. 3, DATI, at pp. 14–16; J-4 at ## 53–59.]

  58.   Although the City claims that increasing police patrols at 40 Engle Street, or

  stationing an officer at the site when the Bread of Life group was present, would

  have been cost-prohibitive, its attempt to rely on this is undermined by Dacey’s



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  testimony that—as a matter of policy, not cost—the City would never station a police

  officer at MMA because he believed that doing so contravened the City’s policy

  against having “taxpayers or police officers to protect a private business.” [Dacey,

  T1 at 183:14 to 185:21.]

  59.   Dacey admitted at trial that he had previously testified that, from the time the

  issue first arose up to the date of his 2017 deposition, he never did a dollars and cents

  calculation of what it would have cost to station an officer at MMA every other

  Saturday morning because of the City’s policy. [Id.]

  60.   Despite Dacey’s trial testimony in which, for the first time in this litigation,

  he provided an actual dollar figure for a police officer’s time—“about $100 an

  hour”—he provided no budget figures or other data upon which to assess whether or

  not spending about $400 every other week to control the violent and obstructive acts

  of “domestic terrorists” on Englewood’s public sidewalks should, reasonably, be

  considered “cost-prohibitive.” [Dacey, T1 at 169:12 to 170:9.]

  F.    Evidence Refuted City’s “Nobody Would File Complaints” Argument

  61.   The trial record contains evidence that, in fact, prior to the enactment of the

  Ordinance, at least four individuals filed complaints with the police about the actions

  of the Bread of Life group: (1) Pl. Ex. BB (2/24/2014 email): “This resulted in one

  escort calling the police and signing a formal complaint”; (2) Pl. Ex. CC (12/22/2013

  email): “Two women from NJNOW . . . stopped by and filed a complaint with the



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  police about what they saw the protestors doing . . .”; and (3) An escort in “early

  February” filed a complaint using the clinic address after being informed by Algrant

  that it was permissible to do so. [Algrant, T1 at 109:5 to 110:19.]

  62.   Since the enactment of the Ordinance, clinic escorts Christine Taylor and

  Andrea Long have filed numerous complaints against protestors, including members

  of the Bread of Life group. [Taylor, T2 at 292:17 to 293:6 (three complaints filed);

  Long, T2 at 325:3–12 (called police 20 times and filed five complaints).]

  63.   Despite trial testimony about victims’ fear of complaining about the Bread of

  Life group out of concern for retaliation, the record contains abundant evidence that

  clinic escorts and others—including the physicians actually performing abortions at

  MMA—were not reluctant to identify themselves publicly using their real names

  and, in some cases, places of employment. Ashley Gray, for example, admitted

  having a Facebook page, using her likeness, and giving her place of employment,

  and detailing her work as a volunteer clinic escort at MMA. [Gray, T2 at 260:11 to

  261:1.]

  64.   Some other clinic escorts also had internet postings displaying their names

  and activities at MMA. [Gray, T2 at 261:2–9.]

  65.   Both Christine Taylor and Andrea Long have published writings identifying

  themselves and talking about their activities outside MMA. [Taylor, T2 at 297:4 to

  301:10; Long, T2 at 332:7 to 333:11.]



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  66.   Eight doctors affiliated with MMA submitted a letter which was entered into

  the minutes of the Englewood City Council in October 2013, giving their names and

  address of employment, complaining about the Bread of Life group [Pl. Ex. N]; and

  three MMA physicians submitted separate signed statements to the council on

  November 12, 2013, complaining of the group’s activities. [J-4 at p. 2, # 7.]

  G.    The Chronology of Englewood’s Enactment of the Ordinance

  67.   On October 8, 2013, the issue of the Bread of Life group’s activities at MMA

  was first brought to the Englewood Council’s attention. [J-4 at p. 1, # 6.]

  68.   On November 12, 2013, Chief O’Keefe addressed the City Council on the

  matter for the first time on November 12, 2013, opining that current city ordinances

  needed revision. [J-4 at p. 2, # 8.] O’Keefe believes that he was the one who “came

  up with the idea of a buffer zone.” [Ex. J-3, O’Keefe, at 25:18–12.]

  69.   In December 2013, Council President Algrant received from an attorney with

  the City of New York a copy of the First Circuit’s decision in McCullen v. Coakley

  affirming the validity of Massachusetts’ buffer zone law. [J-4 at p. 2, # 9.] Algrant

  replied, “that is a great idea.” [Algrant, T1 at 144:1–3; Pl. Ex. P.]

  70.   On January 31, 2014, Algrant wrote to the MMA clinic escort team informing

  them that Englewood would be adopting a buffer zone ordinance. [Algrant, T1 at

  144:8–19; Pl. Ex. Q.]

  71.   The City produced no evidence that any ordinance or regulation—other than



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  the buffer zone ordinance—was considered for adoption from the time the issue was

  first brought to its attention in October 2013, up to the adoption of the challenged

  Ordinance in March 2014.

  72.   Lynn Algrant admitted that the City did not want to limit the Ordinance to

  addressing problems at MMA, testifying that it would “seem[] very narrowly

  focused,” if the Ordinance “singl[ed] out an abortion clinic and the protestors that it

  would attract.” [Algrant, T1 at 124:1-7.]

  73.   Dacey, who could “not recall” reports of any problems at any other facility

  other than 40 Engle Street [Dacey, T1 at 186:18–21], testified that the Ordinance

  was intended to reach all health care and transitional facilities because “protests can

  pop up any day for any reason anywhere.” [Dacey, T1 at 179:5-6.]

  H.    Evidence Refutes Contention that the Ordinance Solved “The Problem”

  74.   To the extent it is relevant, trial evidence showed that the adoption of the

  buffer zone ordinance did not curtail some of the more extreme actions of the Bread

  of Life group. For example: (1) in both August and October 2014, months after the

  Ordinance had been in effect, Algrant was receiving reports of Bread of Life’s

  “aggressive” actions becoming “louder and more numerous than in a long time,” and

  “this most intimidating group seems to be growing” [Algrant, T1 at 144:20 to

  145:16]; (2) In January 2016, Rosemary Garrett testified that the existence of the

  buffer zones had not in any way lessened the obnoxious behavior of the Bread of



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  Life group [J-2, Garrett, at 38:17 to 39:9]; and (3) Andrea Long testified that, since

  the buffer zones were reinstated in 2019, the Bread of Life people continue to stand

  within an area no more than eight feet from the clinic doors and, using a microphone,

  are still screaming intimidating and threatening things at patients. [Long, T2 at

  339:12–19.]

                      PROPOSED CONCLUSIONS OF LAW

  1.    This Court previously granted Turco summary judgment as to all her legal

  claims against the City. (Doc. 50.) The Third Circuit reversed, holding that disputes

  of material fact precluded summary judgment as to (1) whether the buffer zones

  created outside 40 Engle Street significantly burdened Turco’s speech activities and

  (2) whether the City pursued less restrictive alternatives. Turco v. City of Englewood,

  935 F.3d 155, 170 (3d Cir. 2019). The Third Circuit also held that Turco’s

  overbreadth claim could not be properly evaluated without first resolving the merits

  of Plaintiff’s free speech claim. Id. at 172 (quoting Bruni v. City of Pittsburgh, 824

  F.3d 353, 374 (3d Cir. 2016) (Bruni I)).

  2.    Pursuant to the Third Circuit’s remand of the case, a bench trial to resolve

  these issues was held on February 23 and 24, 2022. In light of the testimony and

  exhibits propounded at that trial, the Court now has ample evidence to support what

  it previously held on November 17, 2017: the Ordinance, on its face, and as applied,

  violates the First Amendment to the U.S. Constitution and N.J. Const. art. I, para. 6



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  of the New Jersey Constitution.

  A.    Meaning and Application of the Ordinance

  3.    Federal courts should “not rewrite a . . . law to conform it to constitutional

  requirements, for doing so would constitute a serious invasion of the legislative

  domain, and sharply diminish [the government’s] incentive to draft a narrowly

  tailored law in the first place.” United States v. Stevens, 559 U.S. 460, 481 (2010)

  (cleaned up).

  4.    In its Trial Brief, the City, invoking Sec. B(4) of the Ordinance (exempting

  “persons using the public sidewalk or street right of way adjacent to such facility

  solely for the purpose of reaching a destination other than such facility”) [Pl. Ex. A],

  states that, “Turco can walk through the buffer zone as long as she does not stop in

  the buffer zone or attempt to talk to patients while she is in the buffer zone.” [Doc.

  85 at 30.] Lynn Algrant, present at trial as the representative of the City, offered no

  testimony in support of that assertion. On the contrary, and in line with the plain text

  of the Ordinance, Algrant testified that a non-exempt person cannot walk through

  the buffer zones but must go out into the street. [Algrant, T1 at 158:12–19; 129:22

  to 133:15.]2


  2
    In its August 28, 2015, letter to the Court, counsel for the City represented that
  while Plaintiff and similarly situated persons could “quietly traverse (but not loiter
  in) the driveway buffer zone for the sole purpose of reaching the area adjacent to the
  buffer zone north of the entrance to the clinic,” they could not “traverse the buffer
  zone in front of the clinic entrance.” [Doc. 18 at 1.] Counsel’s stipulation that Turco

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  5.    Algrant further testified, however, that if one’s destination is not the interior

  of the facility, then that person is exempt. [Algrant, T1 at 159:3–16.]

  6.    The City cannot have it both ways. Either Turco is exempt from the

  Ordinance, in which case she is free to engage in sidewalk counseling even within

  the buffer zones, or she is not exempt, in which case she cannot enter the zones or

  remain within them while trying to counsel women on the public sidewalk outside

  MMA.

  7.    This Court must therefore decline to adopt the narrowing construction

  proposed by the City in its Trial Brief that Turco can walk through the buffer zones

  so long as she does so silently. [Doc. 85 at 30.]

  8.    Such a construction would not narrow the scope of the Ordinance, but broaden

  it, imposing a restriction on speech nowhere set forth in the text of the Ordinance.

  See McCullen v. Coakley, 573 U.S. 464, 512 n.3 (2014). Persons falling within one

  of the three other exemptions (those entering/leaving the facility, first responders,

  and agents of the facility) are not required to remain silent while in a buffer zone,

  and this Court has no authority to rewrite the Ordinance to impose a speech

  restriction on those who fall within the fourth exemption, whether that includes one



  may “traverse (but not loiter in) the driveway buffer zone,” of course, assumes that
  without this stipulation—offered merely as an accommodation—the Ordinance does
  not in fact permit such traversing. Nonetheless, counsel was clear that Turco could
  not cross the buffer zones in front of MMA’s entrance.

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  person (Turco), a class of persons (sidewalk counselors), or all persons who cross

  through a buffer zone seeking to reach a destination other than the facility covered

  by such a zone. For these reasons, the Ordinance is far from susceptible to the

  narrowing construction the City proposes; nor does it demand that construction on

  its face. See Bruni v. City of Pittsburgh, 941 F.3d 73, 87–88 (3d Cir. 2019) (Bruni

  II). What the City “desires requires rewriting, not just reinterpretation,” Stevens, 559

  U.S. at 481, and construing the Ordinance in a manner proposed by the City would

  not avoid constitutional problems, it would compound them.3

  B.    Applicable Constitutional Standard

  9.    The Third Circuit has set forth the applicable standard to adjudge Plaintiff’s

  First Amendment free speech claim: intermediate scrutiny. Turco, 935 F.3d at 162.

  The decisive question under that standard is whether the City can prove that the

  Ordinance is “narrowly tailored to serve a significant governmental interest.” Bruni

  I, 824 F.3d at 365 (quoting McCullen, 134 S. Ct. at 2534). Such narrow tailoring

  requires that the government not “burden substantially more speech than necessary

  to achieve the [government’s] asserted interests.” McCullen, 573 U.S. at 486

  (quoting Ward v. Rock Against Racism, 491 U.S. 781, 799 (1989)).

  10.   The City bears the burden of proving that the Ordinance passes constitutional


  3
    The query in Plaintiff’s Trial Brief was just that, a question. (Doc. 84 at 2, n.2.)
  Plaintiff flagged that issue as only one potential way of resolving this case as
  suggested by Bruni II, in case the Court wished supplemental briefing on that issue.

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  muster. “When the Government restricts speech, the Government bears the burden

  of proving the constitutionality of its actions.” United States v. Playboy Entm’t Grp.,

  Inc., 529 U.S. 803, 816 (2000) (citations omitted).

  11.   Where the speech restriction impacts core protected speech, as here, the

  narrow tailoring requirement is “rigorous and fact-intensive.” Bruni I, 824 F.3d at

  372. To meet that requirement, “the government must demonstrate that alternative

  measures that burden substantially less speech would fail to achieve the

  government’s interests, not simply that the chosen route is easier.” McCullen, 573

  U.S. at 495. “[T]he City cannot burden [speech] without first trying, or at least

  demonstrating that it has seriously considered, substantially less restrictive

  alternatives that would achieve the City’s legitimate, substantial, and content-neutral

  interests.” Bruni I, 824 F.3d at 357.

  12.   In sum, the First Amendment “prohibits the government from regulating

  speech in a way that would allow a substantial burden on speech to fall in an area

  that ‘does not serve to advance its goals.’” Turco, 935 F.3d at 162 (citation omitted).

  C.    The Buffer Zones Substantially Burden Turco’s Free Speech Activities

  13.   The Third Circuit, relying on McCullen, has spoken clearly as to what

  constitutes a burden in the free speech context: “while the First Amendment does

  not guarantee a speaker the right to any particular form of expression, some forms—

  such as normal conversation and leafletting on a public sidewalk—have



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  historically been more closely associated with the transmission of ideas than others.”

  Bruni v. City of Pittsburgh, 824 F.3d 353, 366–67 (3d Cir. 2016) (Bruni I) (quoting

  McCullen v. Coakley, 134 S. Ct. 2518, 2536 (2014)) (emphasis added). McCullen

  continues: “[w]hen the government makes it more difficult to engage in these modes

  of communication, it imposes an especially significant First Amendment

  burden.” Bruni I, 824 F.3d at 367 (quoting McCullen, 134 S. Ct. at 2536) (emphasis

  added). See also Turco, 935 F.3d at 172 (same).

  14.   According to the Third Circuit, measuring a burden on speech requires a

  consideration of the scope and size of the speech restriction. Bruni II, 941 F.3d at

  95. As to scope, i.e., “the type of speech” the Ordinance prohibits, id., the Ordinance

  does not just ban conduct such as patrolling, demonstrating, and picketing within the

  zones it creates, as did Pittsburgh’s ordinance in Bruni II. It also bans the two speech

  activities involved with “sidewalk counseling,” i.e., “one-on-one normal

  conversation and leafletting,” that McCullen and the Third Circuit have held are

  “entitled to the maximum protection afforded by the First Amendment.” Id. at 85

  (cleaned up).

  15.   Indeed, unlike the Bread of Life group, whose activities gave rise to the

  Ordinance, sidewalk counselors, such as Turco, “are not protestors.” McCullen v.

  Coakley, 573 U.S. 464, 489 (2014). As described by the Court in McCullen, id.,

  sidewalk counselors



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        believe that they can accomplish [their] objective only through
        personal, caring, consensual conversations. And for good reason: It is
        easier to ignore a strained voice or a waving hand than a direct greeting
        or an outstretched arm.

  16.   Like the sidewalk counselors in McCullen, Turco believes that the most

  effective way to interact with women approaching an abortion clinic is “to maintain

  a caring demeanor, a calm tone of voice, and direct eye contact.” Id. at 473. Sidewalk

  counselors, like Turco, believe that “confrontational methods such as shouting or

  brandishing signs . . . tend only to antagonize their intended audience.” Id.

  17.   The Bruni II court held that Pittsburgh’s buffer zone ordinance was narrower

  in scope than the Massachusetts law unanimously struck down in McCullen because

  it limited only activities the court construed as not including sidewalk counseling.

  Bruni II, 941 F.3d at 90. In other words, the Pittsburgh ordinance, unlike

  Englewood’s, did not “sweep in the ‘one-on-one communication,’ including ‘normal

  conversation and leafletting,’ that McCullen emphasized ‘have historically been

  more closely associated with the transmission of ideas.’” Id. (quoting McCullen, 573

  U.S. at 488). In fact, Bruni II specifically noted that if Pittsburgh wanted to amend

  its ordinance to restrict “one-on-one conversations,” it would have to satisfy the

  narrow tailoring demands as articulated in “McCullen and Bruni I.” Bruni II, 941

  F.3d at 95 n.22. (Those demands are discussed infra at Sec. D.)

  18.   With respect to the size of the zones, and as discussed supra, the Ordinance

  creates “three overlapping buffer zones at any qualifying facility,” Turco, 935 F.3d


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  at 159, and in the case of 40 Engle Street, six overlapping zones because of MMA’s

  entrance and driveway. Those six zones carve out forty-eight feet of the public

  sidewalk—a traditional public forum—where Turco is forbidden to engage in close,

  interpersonal conversations and hand out literature.

  19.   At trial, Turco described in detail how the “obstacle course” created by the six

  buffer zones makes it more difficult for her to engage in sidewalk counseling. [See

  Pl. Proposed Findings of Fact, supra, at ## 14–30.]

  20.   The net impact of the Ordinance on Turco’s speech at 40 Engle Street is that

  her counseling efforts have been considerably hampered, and her ability to engage

  in peaceful conversations, and to offer literature to interested individuals passing by

  on the public sidewalk, has been severely restricted. The Ordinance, and the zones

  created under it, hinder her ability to initiate the close, personal conversations that

  she views as essential to sidewalk counseling, and also significantly hampers her

  ability to offer literature to individuals on the public sidewalk.

  21.   While Plaintiff is still able to have some type of communication with some

  patients with the buffer zones in place, so too were the successful plaintiffs in

  McCullen, 573 U.S. at 474:

        Although they have managed to conduct some counseling and to
        distribute some literature outside the buffer zones—particularly at the
        Boston clinic—they say they have had many fewer conversations and
        distributed many fewer leaflets since the zones went into effect.

  22.   The same holds true with respect to Turco. The legal issue is not whether the

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  Ordinance prohibits Turco from speaking with, and handing literature to, all

  patients entering MMA, but whether the buffer zones created by the Ordinance

  make it “more difficult” for her to engage in these core protected speech activities.

  McCullen, 573 U.S. at 489; Bruni I, 824 F.3d at 367. Turco testified that her ability

  to reach patients, when the zones are in place, is reduced by 50%. [Turco, T1 at

  28:7–11.] The Ordinance has substantially burdened Turco’s speech activities.

  23.   A finding that the buffer zones created by the Ordinance substantially burden

  Turco’s speech would only “be directly at odds with the Supreme Court’s decision

  in Hill v. Colorado,” if the Ordinance operated in the same (or similar) way as did

  the law in Hill. Turco, 935 F.3d at 165 (citing 530 U.S. 703 (2000)). It does not.

  24.   The numerous fixed buffer zones created by the Ordinance, which imposes a

  flat ban on speech for all non-exempt speakers, is different in kind than the single

  floating bubble zone surrounding a patient in Hill, which allowed speakers to

  approach listeners who consented. Indeed, Hill did not involve an eight-foot buffer

  zone at all. Hill, rather, involved an eight-foot bubble zone—within a 100-foot buffer

  zone—that prohibited individuals from knowingly approaching another person

  within eight feet of that person to pass a leaflet, counsel, or hold a sign unless that

  person consents. 530 U.S. at 707–8. The Colorado law created an 8-foot restriction

  on an unwanted physical approach to a person accessing a health clinic. Id. at 707.

  The Ordinance, however, creates an absolute ban on non-exempt speech within the



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  boundaries of buffer zones. In other words, and unlike the buffer zones created by

  the Ordinance, Colorado’s bubble zone could be “pierced,” as it were, when the

  listener consented, or the speaker stood in one place and was approached by the

  listener. Id. at 708 (noting that the Colorado bubble zone did “not require a standing

  speaker to move away from anyone passing by”).

  25.   In contrast to the operation of the law in Hill, Turco cannot cross into a buffer

  zone imposed by the Ordinance to continue speaking one-on-one with a patient, even

  if the patient wishes to hear what Turco has to say. Moreover, though Hill

  suggested that sidewalk counselors “might easily stand on the sidewalk at entrances”

  to hand out literature, 530 U.S. at 730, Turco is not permitted to do that, as entrances,

  including the one at MMA, are at the core of the no-speech zones.

  26.   Importantly, the distance in Hill is always—and never more than—8 feet, and,

  if consent given, no feet at all. Here, the distance is always at least 8 feet, and more

  often than not, 16 feet, or 24 feet, depending on where on the sidewalk Turco and

  the client happen to be standing in relation to the building. The close and intimate

  way Turco wishes to speak with MMA clients is captured at Def. Ex. P.

  27.   In light of the scope and size of the buffer zones created on the public sidewalk

  at and around 40 Engle Street, the Ordinance has placed, and continues to place, a

  substantial burden on Turco’s core free speech activities. It has made it “more

  difficult” for her to engage in two activities that that are afforded maximum



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  constitutional protection: one-on-one communication and distributing literature.

  McCullen, 573 U.S. at 489; Bruni I, 824 F.3d at 367.

  D.    The City Failed to Pursue Less Restrictive Alternatives

  28.   Englewood had “the same obligation to use less restrictive alternatives to its

  buffer zone as the Commonwealth of Massachusetts had with respect to the buffer

  zone at issue in McCullen.” Bruni I, 824 F.3d at 369. It did not do so.

  29.   The law challenged in McCullen, which the Third Circuit observed is in

  “nearly all material respects” (except for the size of the zone) identical to the

  Ordinance, Turco, 935 F.3d at 163, failed the Court’s narrow tailoring analysis—

  and unanimously so. The Court held that Massachusetts could have pursued multiple

  alternatives that would amply serve the government’s interests without suppressing

  leafletting and one-on-one communication in a traditional public forum, including:

  (1) using an unchallenged subsection of that act which prohibited blocking doors

  and driveways, without banning speech; (2) enacting a local version of FACE; (3)

  enacting an ordinance specifically prohibiting harassment, if drafted within First

  Amendment parameters; (4) using existing ordinances against obstruction of doors

  and driveways; (5) using “generic criminal statutes”; and (6) seeking injunctive

  relief as necessary against specific persons with a history of obstructing access.

  McCullen, 573 U.S. at 490–93.

  30.   Among the numerous alternatives not suggested by McCullen is a smaller



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  buffer zone. After McCullen was decided, Massachusetts did not amend its law to

  reduce the size of the zone, but adopted a law modeled on FACE—one of

  McCullen’s very suggestions. See Mass. Gen. Laws, ch. 266, § 120E½(d)

  (“Impeding Access to or Departure from Reproductive Health Care Facility”).

  31.   Except for adopting a law modeled on the very one unanimously held to be

  unconstitutional in McCullen, the City did not avail itself of any of McCullen’s

  proposed less restrictive alternatives.

  32.    Instead of using the part of the former Ordinance that would have addressed

  blockading, obstructing, and impeding access to health care and transitional

  facilities, the City—without explanation—removed those provisions in amending

  its Ordinance. [J-4 at # 41; Pl. Ex. B.]

  33.   The City did not consider enacting a local version of FACE; nor did it consider

  a buffer zone law like Pittsburgh’s, which (as eventually interpreted by the Third

  Circuit) would have addressed the patrolling, picketing and demonstrating of the

  Bread of Life group, but allow sidewalk counselors to engage in one-on-one

  communications. See Bruni II.

  34.   The City did not prosecute lawbreakers for violating laws already on the

  books, such as those prohibiting harassment, N.J.S.A. § 2C:33-4; disorderly conduct,

  N.J.S.A. § 2C:33-2; and simple and aggravated assault, N.J.S.A. § 2C:12-1.

  35.   While the City had ample records, by way of the “escort reports” as well as



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  actual video and photo evidence, to pursue bad actors for engaging in allegedly

  illegal conduct, the City did not pursue injunctive relief against any of those persons.

  See McCullen, 573 U.S. at 495 (“if Commonwealth officials can compile an

  extensive record of obstruction and harassment to support their preferred legislation,

  we do not see why they cannot do the same to support injunctions and prosecutions

  against those who might deliberately flout the law”). Such a remedy “focuses on the

  precise individuals and the precise conduct causing a particular problem.” McCullen,

  573 U.S. at 464.

  36.   In fact, no evidence was adduced at trial that the City ever attempted ascertain

  whether any of the protestors were already subject to an injunction issued by this

  very court in U.S. v. Gregg, 32 F. Supp. 2d 151, 161–162 (D.N.J. 1998). [Dacey, T1

  at 188:5–9.]

  37.   Instead of doing any of these things, the City chose to take the “path of least

  resistance” by “silencing speech.” McCullen, 573 U.S. at 486.4

  38.   With respect to the two issues identified by the Third Circuit as creating a

  genuine issue of material fact with respect to narrow tailoring (“financial restraints”

  on the City and victims’ “fear of reprisal” for filing complaints, Turco, 935 F.3d at

  169), trial testimony from the City’s witnesses does not support, but in fact


  4
    Bruni II’s application of intermediate scrutiny can only be properly understood in
  light of the Court’s holding that the ordinance did not apply to the activities of
  sidewalk counselors. 941 F.3d at 88, 91.

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  undermines, the City’s case.

  39.    The City cannot be said to have “seriously considered,” Bruni I, 824 F.3d at

  357, ramping up police presence at MMA and quelling the conduct of bad actors,

  when Dacey who “prepares or is charged with budgets for the City of Englewood,”

  never “figure[d] out [in] dollars and cents what it would cost to have a police officer

  stationed” at 40 Engle Street for “three hours on a Saturday morning.” [Dacey, T1

  at 184:11–21.]

  40.    In fact, the City did not consider such police presence as a matter of policy

  because Dacey was under the impression that keeping the peace on the public

  sidewalk at 40 Engle Street was tantamount to providing private security to MMA.

  [Dacey, T1 at 183:14 to 185:21.] It is not the duty of MMA or any other private

  entity or person to see that public sidewalks are safe for pedestrians, patients, or even

  protestors. It is the City’s. See Schneider v. State, 308 U.S. 147, 160 (1939)

  (“Municipal authorities . . . have the duty to keep their communities’ streets open . .

  . [s]o long as legislation to this end does not abridge the constitutional liberty . . . to

  impart information through speech or the distribution of literature”).

  41.    Moreover, even if financial restraints did not allow for Englewood police to

  patrol 40 Engle Street at one location for a few hours one day of the week (or every

  other week), that does not explain how the buffer zones, which are in place every

  moment a facility is open for business, are themselves supposed to be enforced. Just



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  as laws against harassment, blocking, and assault, do not enforce themselves, neither

  do buffer zones painted on a sidewalk. If the City’s excuse is that buffer zones are

  easier to enforce, the Supreme Court shut down that very argument in McCullen: “A

  painted line on the sidewalk is easy to enforce, but the prime objective of the First

  Amendment is not efficiency.” 573 U.S. at 495. See also Free Speech Coal., Inc. v.

  AG United States, 787 F.3d 142, 156 (3d Cir. 2015) (“ease of enforcement is not the

  touchstone for narrow tailoring”) (citing McCullen).

  42.   If a lack of finances were an excuse to create prophylactic bans on leafletting

  and one-on-one communications, a municipality’s inability to deal with litter

  involving pamphlets and newspapers would give it the excuse to ban carrying

  literature in public. But see Schneider, 308 U.S. at 162 (“There are obvious methods

  of preventing littering. Amongst these is the punishment of those who actually throw

  papers on the streets.”)

  43.   Regarding the fear of reprisal for filing complaints, trial testimony, see supra,

  made it clear that (1) persons did indeed file complaints prior to the enactment of the

  Ordinance, (2) clinic escorts have filed complaints with the City, including against

  members of the Bread of Life group, (3) Ashley Gray, Christina Taylor, and Andrea

  Long, and others, have been public about their identities and activities at MMA, and

  (4) it was Ashley Gray’s eventual understanding that escorts did not have to provide

  their home address when filing a complaint.



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  44.   Because the City can pursue bad actors based on complaints (or evidence

  taken from the MMA security cameras or clinic escorts’ videos), that, on its face, is

  a more narrowly tailored approach to addressing its “problem group.” See Fed.

  Election Com. v. Mass. Citizens for Life, Inc., 479 U.S. 238, 265 (1986)

  (“government must curtail speech only to the degree necessary to meet the particular

  problem at hand, and must avoid infringing on speech that does not pose the danger

  that has prompted regulation.”).

  45.   In sum, the City “has too readily forgone options that could serve its interests

  just as well, without substantially burdening the kind of speech in which [Turco]

  wish[es] to engage.” McCullen, 573 U.S. at 490.

  46.   Even if McCullen’s laundry list of less restrictive alternatives could be

  deemed ineffective in this case, the City “has another problem.” 573 U.S. at 493.

  The Ordinance applies to all health care and transitional facilities in the City, despite

  problems only arising at one location for a few hours on one day of the week. That

  flies in the face of McCullen, which held that the Massachusetts law failed narrow

  tailoring, in part, on these very grounds. “For a problem shown to arise only once a

  week in one city at one clinic, creating 35-foot buffer zones at every clinic across

  the Commonwealth is hardly a narrowly tailored solution.” Id. (emphasis added).

  See also Reynolds v. Middleton, 779 F.3d 222, 231 (4th Cir. 2015) (“Given the

  absence of evidence of a county-wide problem, the county-wide sweep of the



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  Amended Ordinance [banning solicitation within all county roadways] burdens more

  speech than necessary, just as the statute in McCullen—a statewide statute aimed at

  a problem in one location—burdened more speech than necessary.”); Cutting v. City

  of Portland, 802 F.3d 79, 89 (1st Cir. 2015) (citing McCullen, 573 U.S. at 493)

  (holding that a city-wide ban on lingering on median strips was “geographically

  over-inclusive” because of a lack of evidence of a city-wide problem).

  47.   Lynn Algrant admitted that the City did not want to narrowly tailor the

  Ordinance to address problems at MMA, testifying that it would “seem[] very

  narrowly focused,” if the Ordinance “singl[ed] out an abortion clinic and the

  protestors that it would attract.” [Algrant, T1 at 124:1–7.] In other words, the City

  specifically considered whether to address problems only at MMA, but rejected

  doing so because that would have been too narrow a focus. But see Frisby v. Schultz,

  487 U.S. 474, 485 (1988) (“A statute is narrowly tailored if it targets and eliminates

  no more than the exact source of the ‘evil’ it seeks to remedy”).

  48.   The City had ample alternatives to deal with the protests and demonstrations

  outside MMA without suppressing the sidewalk counseling activities of Jeryl Turco,

  whose conduct caused no problems for the City. Restricting one-on-one

  communications and leafletting at numerous locales within the City, in an effort to

  address the bad conduct of protestors at one location during a short window of time,

  impermissibly creates a substantial burden on speech that “does not serve to advance



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  [the City’s] goals.” Turco, 935 F.3d at 162 (quoting McCullen, 573 U.S. at 486).

  E.       The Ordinance Fails Under the Overbreadth Doctrine

  49.      Because McCullen held that the law was not narrowly tailored, it did not need

  to consider the petitioners’ overbreadth challenge. See Turco, 935 F.3d at 170 (citing

  McCullen, 573 U.S. at 496 n.9). Similarly, because this Court can (and should) hold

  that the Ordinance fails intermediate scrutiny, it need not reach the overbreadth

  issue.

  50.      Should the Court reach the issue, the Ordinance fails overbreadth because it

  creates buffer zones at all health care and transitional facilities without any legal

  justification to apply such a sweeping remedy to address problems at one location.

  51.      A law is overbroad when “a substantial number of its applications are

  unconstitutional, judged in relation to the [law’s] plainly legitimate sweep.” See

  Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442, 449 n.6 (2008)

  (citations omitted). The overbreadth doctrine prohibits laws that “sweep

  unnecessarily broadly and thereby invade the area of protected freedoms.” NAACP

  v. Alabama, 377 U.S. 288, 307 (1964) (internal citations omitted). Accordingly, a

  law is void for overbreadth where it “does not aim specifically at evils within the

  allowable area of [government] control but . . . sweeps within its ambit other

  activities that in ordinary circumstances constitute an exercise” of protected rights.

  Thornhill v. Alabama, 310 U.S. 88, 97 (1940).



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  52.   In addition to admitting that creating buffer zones only at MMA and its

  protestors would “seem[] very narrowly focused” [Algrant, T1 at 124:1–7], Algrant

  testified that the City did not want protestors making it difficult for people to get in

  and out of transitional facilities. [Algrant, T1 at 125:13–17.] Algrant did not identify

  a history, or even an example, of such protests taking place outside transitional

  facilities in the City (not to mention, a health care facility other than MMA).

  53.   Similarly, Dacey testified that the Ordinance was intended to reach all health

  care and transitional facilities based on the hypothetical that “protests can pop up

  any day for any reason anywhere.” [Dacey, T1 at 179:5–6.]

  54.   Restricting First Amendment activities in buffer zones outside each and every

  health care and transitional facility in the City, goes far beyond any justification the

  City has for attempting to regulate a readily identifiable group of protestors at one

  location.

  55.   The Ordinance “create[s] a virtual ‘First Amendment Free Zone’” on public

  sidewalks outside all health care and transitional facilities in the City. Bd. of Airport

  Comm’rs of L.A. v. Jews for Jesus, Inc., 482 U.S. 569, 574 (1987). Even in a non-

  public forum, “no conceivable governmental interest would justify such an absolute

  prohibition of speech.” Id. at 575.

  56.   Hill’s remark that “the comprehensiveness of the [Colorado] statute is a

  virtue, not a vice, because it is evidence against there being a discriminatory



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  governmental motive,” cannot be said of the Ordinance and the evidence proffered

  by the City in support. Turco, 935 F.3d at 171 (quoting Hill, 530 U.S. at 731). The

  statute in Hill applied only to health care facilities, while the Ordinance applies to

  both health care facilities and transitional facilities. But the City has provided no

  serious justification, let alone evidence, why buffer zones at transitional facilities,

  such as “halfway houses” for “mentally ill persons,” see N.J.S.A. 40:55D-66.2(a),

  are needed. Hill’s reasoning should not be stretched to an illogical extreme that

  would allow the government to ban First Amendment activities wherever they might

  “pop up.” [Dacey, T1 at 179:5–6.] While such legislation might be

  “comprehensive,” that would not constitute a First Amendment “virtue.”

  F.    Remaining Constitutional Claims

  57.   Because the Ordinance fails narrow tailoring on First Amendment free speech

  grounds it also violates Turco’s First Amendment right to freedom of assembly and

  her right of free speech under the New Jersey Constitution. N.J. Const. art. I, para.

  6. See Turco, 2017 U.S. Dist. LEXIS 189042, at *14–15 (D.N.J. Nov. 14, 2017)

  (citing cases).

                                    CONCLUSION

        Judgment should be entered in favor of Plaintiff Jeryl Turco as to all counts

  set forth in her Verified Complaint. The Court should enter a permanent injunction

  against Englewood, prohibiting the City from enforcing Ordinance #14-11.



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  Respectfully submitted on this 25th day of March 2022.


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                           CERTIFICATE OF SERVICE

        I hereby certify that on March 25, 2022, I electronically filed the foregoing

  document with the Clerk of Court using the CM/ECF system, which will send

  notification of such filing to all CM/ECF participants.

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